 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 1 of 11. PageID #: 77




                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

NASEER ALZUBAIDY,                            )         CASE NO.: 1:21-cv-01514
                                             )
               Plaintiff,                    )         JUDGE PATRICIA A. GAUGHAN
                                             )
       vs.                                   )         DEFENDANT’S MOTION TO
                                             )         DISMISS PLAINTIFF’S
HAYA G, INC.                                 )         AMENDED COMPLAINT WITH
                                             )         PREJUDICE PURSUANT TO
               Defendant.                    )         CIV. R. 12(B)(6)


       Now comes Defendant Haya G, Inc. by and through undersigned counsel, and

respectfully moves this Honorable Court pursuant to Federal Rule of Civil Procedure

Rule 12(b)(6) to dismiss Plaintiff’s Amended Complaint with prejudice for failing to state

a claim upon which relief can be granted for the reasons more fully set forth in the Brief

in Support, attached hereto and incorporated herein.

                                             Respectfully Submitted,

                                             /s/ Brian A. Murray____________________
                                             LARRY W. ZUKERMAN, Esq. (0029498)
                                             S. MICHAEL LEAR, Esq. (0041544)
                                             BRIAN A. MURRAY, Esq. (0079741)
                                             Zukerman, Lear & Murray Co. LPA
                                             3912 Prospect Avenue East
                                             Cleveland, Ohio 44115
                                             (216) 696-0900 telephone
                                             (216) 696-8800 facsimile
                                             lwz@zukerman-law.com
                                             sml@zukerman-law.com
                                             bam@zukerman-law.com
                                             Counsel for Defendant Haya G, Inc.
  Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 2 of 11. PageID #: 78




                                   BRIEF IN SUPPORT

      I. STATEMENT OF THE CASE

          Plaintiff’s Amended Complaint continues to contain nothing more than

conclusory statements that the Defendant “willfully” violated the Fair Labor Standards

Act, Ohio’s Fair Minimum Wage Amendment (“OMFWA”), and Ohio’s overtime

compensation statute. (Plaintiff’s Amended Complaint, ¶1-68). As Plaintiff fails to set

forth sufficient factual allegations in his Amended Complaint to raise his alleged right to

relief above the speculative level, this Honorable Court must dismiss his Amended

Complaint due to his failure to state a plausible claim for which relief can be granted.

     II. LAW AND ARGUMENT

              1. Rule 12(B)(6) Standard of Review.

        “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007). But “tenet that the court must accept as true all of the allegations contained

in a complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556

U.S. at 678. Vague statements do not suffice because “[f]actual allegations must be

enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

        “As the Supreme Court explained, ‘where the well-pleaded facts do not permit the

court to infer more than mere possibility of misconduct, the complaint has alleged – but it

has not shown – that the pleader is entitled to relief.’” Estate of Barney v. PNC Bank,

Natl. Ass’n, 714 F.3d 920, 924-25 (6th Cir. 2013)(quoting Iqbal, 556 U.S. at 679).




                                               2
 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 3 of 11. PageID #: 79




             2. PLAINTIFF’S FLSA AND STATE LAW CLAIMS CONTINUE
                TO FAIL UNDER THE STANDARD ANNOUNCED IN
                TWOMBLY AND IQBAL

       This Honorable Court should find that Plaintiff has failed to state a claim upon

which relief can be granted because his Amended Complaint consists of nothing more

than bare assertions and legal conclusions that Defendant violated the FLSA’ minimum

wage and overtime provisions, the Ohio Fair Minimum Wage Amendment (“OMFWA”),

and the Ohio overtime compensation statute. “Courts have adopted different approaches

to evaluate the sufficiency of FLSA overtime claims.” Forrester v. American Security

and Protection Service LLC, 5:20-cv-204, 2021-WL-4134043, *3 (W.D. Ky September

9, 2021). “On the one hand, ‘[m]any courts have held that a plaintiff should at a

minimum allege approximately the number of hours worked for which overtime wages

were not received.” Id. (citing Butler v. DirectSat USA, LLC, 800 F. Supp. 2d 662, 667-

68 (D. Md. 2011)). “On the other hand, “[m]any courts have found the basic allegation

that plaintiff worked overtime more than forty hours in a week and did not receive

overtime compensation to be sufficient.” Id. But even those cases that approve of the

latter, more lenient approach, do not give plaintiffs a license to plead “factual allegations

with little factual support” and have dismissed overtime claims that simply allege that a

plaintiff worked for the defendant, were not paid, and were required to work in excess of

forty hours a week as such bare allegations do not meet the Twombly/Iqbal pleading

standard. Id. (citing Anderson v. GCA Servs. Grp. Of N. Carolina, Inc., No. 1:15-cv-37,

2015 WL 5299452, at *4 (W.D. Ky. Sept. 9, 2015)).

       In Forrester, supra, the district court granted the defendants’ Civ.R. 12(b)(6)

motion to dismiss a plaintiff’s FLSA overtime claim upon holding that the plaintiff’s




                                              3
  Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 4 of 11. PageID #: 80




complaint contained the type of bare assertions that have repeatedly been held by courts

to be insufficient. Id. The district court noted that the plaintiff simply claimed that she

was employed from approximately March to November 2019, that she was required to

perform unpaid pass down activities every workday, and that she routinely worked forty

or more hours per workweek. Id.

        In support of decision to dismiss the plaintiff’s complaint, the district court in

Forrester reasoned that the plaintiff’s complaint failed to contain any information about

the specific weeks that she worked overtime, the length of her average workweek during

the applicable period, or an approximation of the number of overtime hours worked. Id.

The district court further reasoned that while the plaintiff provided her average rate of

pay, that information alone was not enough to permit to the court to find her claim to be

plausible. In further support of its decision, the district court noted that “[a] plaintiff may

establish a plausible claim” by estimating “the average rate at which she was paid” and

“the length of her average workweek during the applicable period.”)(citing Landers v.

Quality Commc’ns, Inc., 771 F.3d 638, 645 (9th Cir. 2014)). Accordingly, upon finding

that the plaintiff merely recited the base statutory elements of a FLSA claim and failed to

sufficiently plead facts supporting a claim for unpaid overtime under the FLSA, the

district court dismissed the plaintiff’s claim as it failed to meet the plausibility

requirement. Id. at *4.

        Similarly, in the present matter, this Honorable Court should dismiss Plaintiff’s

Amended Complaint due to his failure to plead sufficient facts to support his bare

assertions and legal conclusions that Defendant violated the FLSA’ minimum wage and

overtime provisions, the Ohio Fair Minimum Wage Amendment (“OMFWA”), and the




                                               4
 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 5 of 11. PageID #: 81




Ohio overtime compensation statute. Plaintiff’s Amended Complaint fails to set forth

any alleged facts setting forth what Ohio’s minimum wage was during the time period

relevant to this case and how the wages Defendant allegedly paid him during said time

period failed to satisfy the FLSA’ minimum wage and/or Ohio’s minimum wage

requirements.

       Accordingly, this Honorable Court should grant Defendant Civ. R. 12(b)(6)

motion to dismiss Plaintiff’s Amended Complaint upon finding that Plaintiff has failed to

state a claim upon which relief can be granted because his Amended Complaint consists

of nothing more than bare assertions and legal conclusions that Defendant violated the

FLSA’ minimum wage and overtime provisions, the Ohio Fair Minimum Wage

Amendment (“OMFWA”), and the Ohio overtime compensation statute

             3. PLAINTIFF’S AMENDED COMPLAINT FAILS TO CONTAIN
                THE PRIMA FACIE ELEMENTS OF A FLSA CLAIM

       This Honorable Court should dismiss Plaintiff’s FLSA claims because Plaintiff

has failed to plead the prima facie elements of a FLSA claim his Amended Complaint

reflects that Defendant and its employees only operate intrastate. (Plaintiff’s Amended

Complaint, ¶12). “FLSA complaints must contain factual allegations of a claim’s prima

facie elements.” Gibbs v. Sedgwick Claims Management Services, Inc., 2:21-cv-2153,

2022 WL 26688, *2 (W.D. Tenn. Jan. 3, 2022)(citing Roberts v. Corr. Corp. of Am., No.

3:14-cv-2009, 2015 WL 3905088, at *7-8 (M.D. Tenn. June 25, 2015); Kutzback v. LMS

Intellibound, LLC, No. 13-cv-2767, 2014 WL 12843044, at *2 (W.D. Tenn. Sept. 5,

2014)). “The prima facie elements of a FLSA overtime claim are: 1) that an employer-

employee relationship existed; 2) that the employer or its employees engaged in interstate

commerce; 3) that the employee worked more than forty hours in a work week; and 4)



                                            5
  Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 6 of 11. PageID #: 82




that overtime was not paid.” Id. (citing Grubbs v. D&S Residential Servs., LP, No. 2:20-

cv-75, 2020 WL 701, 5052, at *3 (E.D. Tenn. Sept. 3, 2020)).

       As Plaintiff’s Amended Complaint fails to allege any facts establishing that either

the Defendant or Defendant’s employees were engaged in interstate commerce, Plaintiff

has failed to plead a prima facie case for a FLSA violation. Accordingly, this Honorable

Court should dismiss Plaintiff’s FLSA claims.

               4. A TWO-YEAR STATUTE OF LIMITATIONS APPLIES TO
                  PLAINTIFF’S FLSA CLAIMS.

       “Ordinary violation of the FLSA are subject to” a two-year statute of limitations

under 29 U.S.C. § 255. McLaughlin v. Richland Show Co., 486 U.S. 128, 135 (1988).

Only in extraordinary cases, where the plaintiff pleads and proves the employer’s

violation was “willful,” will the limitations period extend to three years. See Id.

Willfulness exists if the employer knew, or showed “reckless disregard” for the

possibility that, the FLSA prohibited its actions. Id. at 133. “Reckless disregard” means

more than simply an error in judgment, or an “unreasonable” decision. Id. at 133-35.

Mere ignorance or negligence by an employer cannot permit a finding of willfulness;

willful violations are generally found in cases when an employer had information that its

practices were illegal. See Ellen C. Kearns, et al, The Fair Labor Standards Act §

16.VII.C.2.a, p. 16-74 (2015)(willfulness is typically found where the employer ignored

warnings it was out of compliance, destroyed or withheld records, split employees’ hours

between two companies’ books to conceal overtime work, ignored direct information

from an administrative agency, or ignored internal audits or memoranda showing possible

violations).




                                             6
 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 7 of 11. PageID #: 83




       Thus, to state a claim for willfulness, a plaintiff “must do more than make the

conclusory assertion that a defendant acted willfully” and invoke the three-year

willfulness exception to a two-year statute of limitations. Crugher v. Prelesnik, 761 F.3d

610, 617 (6th Cir. 2014)(applying plausibility pleading standard to establishing wilfulness

in cases under the FMLA, which is structurally analogous to the FLSA and adds one year

to the applicable statute of limitations for willful violations); Whiteside v. Hover-Davis,

Inc., 995 F.3d 315, 320 (2nd Cir. 2021)(adopting Crugher’s reasoning due to the

analogous statutory structure between the FMLA and FLSA, and holding “FLSA

plaintiffs must plausibly allege willfulness to secure the benefit of the three-year

exception at the pleadings stage.”). To survive a motion to dismiss, “[a]llegations of

willfulness must be far stronger than a mere allegation that a defendant ‘knew or had

reason to know’ of is alleged FLSA violations.” Schneck v. Maxim Healthcare Servs.,

Ltd., 333 F. Supp. 3d 751, 758 (N.D. Ohio 2018)(citation and quotation omitted). To

defeat at Rule 12(b)(6) motion to dismiss, a plaintiff must instead plead facts about the

defendant’s mental state that, if true, make the state-of-mind allegation plausible on its

face. Id. at 759.

       In Woods v. First Transit, Inc., 1:21-cv-0739, 2021 WL 4661662, *9-10 (N.D.

Ohio Oct. 7, 2021), the district court partially granted a defendant’s 12(b)(6) motion to

dismiss upon holding that the plaintiffs failed to plead facts plausibly suggesting any

willful violations of the FLSA on the defendant’s part and accordingly ruled that the

statute of limitations governing the plaintiffs’ FLSA claims was limited to two years.

The district court in Woods supported its decision by stating that the plaintiffs’




                                              7
  Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 8 of 11. PageID #: 84




allegations of willfulness were nothing more than legal conclusions as the plaintiffs failed

to set forth any facts regarding the defendant’s mental state. Id. at *9.

       The district court in Woods noted that the plaintiffs alleged – without any factual

support – that defendant knew it failed to pay its fixed-route drivers legally mandated

wages for work they performed with defendant’s knowledge and for its benefit. Id. The

district court also noted that the plaintiffs alleged that the defendant “intentionally”

violated the FLSA by maintain certain policies and procedures “that knowingly deny its

drivers overtime wage payments,” but allege no facts that plausibly suggest any intent or

knowledge on the defendant’s part. Id. The district court further noted that the plaintiffs

alleged that by requiring drivers to perform pre-/post-shift work, as well as to work

through some or all of their uncompensated meal breaks, defendant acted with “willful

and reckless disregard” for plaintiffs’ rights under the FLSA. Id. The district court stated

“[a]gain, plaintiffs fail to support this conclusory assertion that defendant acted with

‘willful and reckless disregard’ with any facts about the defendant’s mental state.” Id.

       Accordingly, the district court in Woods reasoned that because the plaintiffs

pleaded only conclusory assertions about defendant’s willfulness and “failed to plead any

state-of-mind allegations that are plausible on their face, the complaint’s allegations of

willfulness are insufficient to meet the Iqbal/Twombly pleading standard.” Id. The

district court subsequently held that the plaintiff’s FLSA claim was limited to a two-year

period. Id.

       Similarly, in the present matter, this Honorable Court should find that Plaintiff’s

conclusory allegations of the defendant’s alleged willfulness are insufficient to meet the

Iqbal/Twombly pleading standard and that his FLSA claim is limited to a two-year time




                                              8
  Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 9 of 11. PageID #: 85




period. As Plaintiff’s Amended Complaint fails to set forth any factual support that

plausibly suggests any intent or knowledge on the Defendant’s part, this Honorable Court

must limit his FLSA claim to two-years.

             5. A TWO-YEAR STATUTE OF LIMITATIONS APPLIES TO
                PLAINTIFF’S STATE LAW CLAIMS.

       Plaintiff’s Ohio Class definition relies upon a three-year statute limitations which

is impermissible under Ohio law as there is no willful violation exception under Ohio

law. Accordingly, Plaintiff’s state law claims must be limited to a two-year period.

“Under Ohio’s overtime pay statute, O.R.C. 4111.01, the statute of limitations is two

years, with no exception for willful violations.” Woods v. First Transit, Inc., 1:21-cv-

0739, 2021 WL 4661662, *10 (N.D. Ohio Oct. 7, 2021)(citing Terry v. Pro-Mark

Contracting, LLC, No. 1:14-cv-2542, 2016 WL 3421399, at *5 (N.D. Ohio Jun. 22,

2016)(citing Ohio Rev. C. § 2305.11; State ex rel. Gingrich v. Fairfield City Schools, 18

Ohio St. 3d 244 (1985)). See also Malee v. Anthony & Frank Ditomaso, Inc., No. 1:16-

cv-490, 2018 WL 2938970, at *1 (Ohio’s Minimum Wage Act has a two year limitation

period. That limitation period does not increase to three years for willful conduct unlike

the FLSA.”)).

       Ohio Rev. C. § 2305.11 sets forth, in relevant part:

                An action … by and employee for the payment of unpaid
                minimum wages, unpaid overtime compensation, or liquidated
                damages by reason of the nonpayment of minimum wages or
                overtime compensation shall be commenced within two years after
                the cause of action accrued.
Id.

       In Woods, the district court agreed with the defendant and held that the plaintiffs’

claims that the defendant violated the Ohio Fair Minimum Wage Amendment




                                             9
 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 10 of 11. PageID #: 86




(“OMFWA”) were subject to the two-year limitation period, with no exceptions for

alleged willful violations. Id. (citing Malee, 2018 WL 2938970, at *1). Accordingly,

the district court granted the defendant’s partial motion to dismiss Plaintiff’s complaint

pursuant to Civ.R. 12(b)(6).

       Similarly, in the present matter, Plaintiff impermissibly attempts to set forth an

Ohio Class definition that relies upon a three-year statute of limitations. Plaintiff

specifically avers in his Amended Complaint that he “brings this case on behalf of

himself and other members of a proposed Ohio Class, defined as:

               All current and former vehicle drivers for Defendant who worked
               during the period three years preceding commencement of this
               action to the present.

(Plaintiff’s Amended Complaint, ¶47) (emphasis added).

       Thus, this Honorable Court should grant Defendant’s motion to dismiss as

Plaintiff impermissibly attempts to set forth an Ohio Class definition that relies

upon a three-year statute of limitations

       WHEREFORE, Defendant Haya, G, Inc. respectfully asserts that this Honorable

Court should dismiss Plaintiff’s Amended Complaint with prejudice pursuant to Federal

Rule 12(b)(6) for failing to state a claim upon which relief can be granted.

                                               Respectfully Submitted,

                                               /s/ Brian A. Murray____________________
                                               LARRY W. ZUKERMAN, Esq. (0029498)
                                               S. MICHAEL LEAR, Esq. (0041544)
                                               BRIAN A. MURRAY, Esq. (0079741)
                                               Zukerman, Lear & Murray Co. LPA
                                               3912 Prospect Avenue East
                                               Cleveland, Ohio 44115
                                               (216) 696-0900 telephone
                                               (216) 696-8800 facsimile
                                               lwz@zukerman-law.com



                                             10
 Case: 1:21-cv-01514-BMB Doc #: 18 Filed: 02/10/22 11 of 11. PageID #: 87




                                               sml@zukerman-law.com
                                               bam@zukerman-law.com
                                               Counsel for Defendant Haya G, Inc.

                              CERTIFICATE OF SERVICE

         I hereby certify that on February 10, 2022, a copy of the forgoing Defendant’s
Motion to Dismiss Plaintiff’s Amended Complaint was filed electronically. Notice of
this filing will be sent to all parties by operation of the Court’s electronic filing system.
Parties may access this filing through the Court’s system.

                                                               /s/ Brian A. Murray________
                                                               BRIAN A. MURRAY, Esq.




                                              11
